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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:20CR23

      vs.
                                                                ORDER
DUSTIN MINKLER,

                    Defendant.


      At the initial appearance of the defendant on the charges contained in the
indictment on file, the United States moved to detain the defendant without bail pending
trial on the basis that he was a flight risk and a danger to the community. At the time of
his initial appearance before the court, the defendant was in the custody of Iowa state
authorities on state charges. Accordingly,
      IT IS ORDERED:
      The government's motion for detention of Dustin Minkler pursuant to the Bail
Reform Act is held in abeyance pending the defendant's coming into federal custody.
      IT IS FURTHER ORDERED:
      The U.S. Marshal for the District of Nebraska is directed to place a detainer with
the correctional officer having custody of the defendant.



      DATED this 28th day of April, 2020.

                                                BY THE COURT:

                                                s/ Susan M. Bazis
                                                United States Magistrate Judge
